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                                       WRITTEN CONSENT
                                      OF THE MANAGERS OF
                                ORCHARD ACQUISITION COMPANY, LLC

                         The undersigned, being all of the Managers (the “Managers”) of Orchard
         Acquisition Company, LLC, a Delaware limited liability company (the “Company”), hereby
         adopt the following resolutions of the Company pursuant to the Delaware Limited Liability
         Company Act and the Limited Liability Company Agreement of the Company, dated as of July 12,
         2011, without a meeting of the Managers and direct that this Written Consent of the Managers be
         filed with the minutes of the respective proceedings of the Managers of the Company:

                          WHEREAS, the Managers have reviewed and have had the opportunity to ask
         questions about the materials presented by management and the legal and financial advisors of
         the Company regarding the liabilities and liquidity of the Company, the strategic alternatives
         available to it and the impact of the foregoing on the Company’s business; and

                        WHEREAS, the Managers have had the opportunity to consult with management
         and the legal and financial advisors of the Company to fully consider each of the strategic
         alternatives available to the Company; and

                         WHEREAS, the Managers previously approved the form, terms and provisions
         of, and the execution, delivery, and performance of, and, on November 9, 2017, the Company,
         The J.G. Wentworth Company (“PubCo”), and the following direct and indirect subsidiaries of
         PubCo: (i) JGW Holdings, Inc.; (ii) The J.G. Wentworth Company, LLC (the “J.G. LLC”); and
         (iii) J.G. Wentworth, LLC (collectively, with PubCo and the Company, the “Debtors”), entered
         into, a restructuring support agreement (the “Restructuring Support Agreement”) with
         (i) certain lenders holding over eighty-seven percent (87%) of the aggregate principal amount of
         term loans outstanding under that certain Credit Agreement, dated as of February 8, 2013 (the
         “Existing Credit Agreement”, and the lenders thereunder, the “Term Lenders”), by and among
         the Company, as Parent Borrower, and certain of its affiliates, Jefferies Finance LLC, as
         administrative agent and collateral agent (the “TL Agent”), the lenders from time to time party
         thereto, and Jefferies Group, Inc., as Swing Line Lender and an LC Issuer (as each is defined in
         the Existing Credit Agreement), (ii) the TL Agent, as lead arranger and bookrunner, and (iii)
         certain members of the J.G. LLC; and

                         WHEREAS, on December 1, 2017, pursuant to the terms of the Restructuring
         Support Agreement, the Debtors commenced the solicitation of votes from, among others, the
         Term Lenders (the “Solicitation”) to obtain acceptances of the Joint Pre-Packaged Plan of
         Reorganization of Orchard Acquisition Company, LLC and its Debtor Affiliates, dated
         December 1, 2017 (as may be amended, restated, supplemented, or otherwise modified from
         time to time, the “Plan”); and

                         WHEREAS, pursuant to the Solicitation, the Debtors have received the requisite
         votes in favor of the Plan from the Term Lenders sufficient to satisfy the requirements of section
         1126(c) of Title 11 of the United States Code (the “Bankruptcy Code”), as well as receipt of
         certain other third-party approvals; and

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                        WHEREAS, in furtherance of the Plan, the Managers desire to approve the
         following resolutions:

         NOW, THEREFORE, BE IT HEREBY

           I.    Commencement of Chapter 11 Case

                         RESOLVED, that the Managers have determined, after consultation with the
         management and the legal and financial advisors of the Company, that it is desirable and in the
         best interests of the Company, its creditors, and other parties in interest that a petition be filed by
         the Company seeking relief under the provisions of chapter 11 of the Bankruptcy Code in the
         United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”); and be
         it further

                          RESOLVED, that any of the Managers or officer of the Company or PubCo,
         including, without limitation, Chief Executive Officer, Stewart A. Stockdale, and Executive Vice
         President and Chief Legal and Compliance Officer, Stephen A. Kirkwood (each, an “Authorized
         Officer”), in each case, acting singly or jointly, be, and each hereby is, authorized, empowered,
         and directed to execute and file in the name and on behalf of the Company all petitions,
         schedules, motions, lists, applications, pleadings, and other papers in the Bankruptcy Court, and,
         in connection therewith, to employ and retain all assistance by legal counsel, accountants,
         financial advisors, investment bankers and other professionals, and to take and perform any and
         all further acts and deeds which such Authorized Officer deems necessary, proper, or desirable in
         connection with the Company’s chapter 11 case (the “Chapter 11 Case,” and collectively with
         the chapter 11 cases of the other Debtors, the “Chapter 11 Cases”), including, without
         limitation, negotiating, executing, delivering and performing any and all documents, agreements,
         certificates and/or instruments in connection with the transactions and professional retentions set
         forth in this resolution, with a view to the successful prosecution of the Chapter 11 Case; and be
         it further

                         RESOLVED, that any Authorized Officer is hereby authorized, as part of the
         adequate protection to be provided to the lenders and administrative agent under the Existing
         Credit Agreement, to grant replacement security interests in, and replacement liens on, any and
         all property of the Company as collateral pursuant to the Bankruptcy Court’s orders to secure all
         of the obligations and liabilities of the Company thereunder, and to authorize, execute, verify,
         file and/or deliver to the administrative agent, on behalf of the Company, all agreements,
         documents and instruments required by the lenders or the administrative agent under the Existing
         Credit Agreement in connection with the foregoing, and be it further

           II.   Retention of Advisors

                       RESOLVED, that the firm of Evercore Group L.L.C. located at 55 East 52nd
         Street New York, New York 10055, is hereby retained as investment banker for the Debtors in
         the Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further

                        RESOLVED, that the law firm of Simpson Thacher & Bartlett, LLP, located at
         425 Lexington Avenue, New York, New York 10017, is hereby retained as attorneys for the
         Debtors in the Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further
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                        RESOLVED, that the law firm of Young Conaway Stargatt & Taylor, LLP,
         located at Rodney Square, 1000 North King Street, Wilmington, Delaware 19801, is hereby
         retained as attorneys for the Debtors in the Chapter 11 Cases, subject to Bankruptcy Court
         approval; and be it further

                       RESOLVED, that Ankura Consulting Group, LLC, located at 750 3rd Avenue,
         New York, New York 10017, is hereby retained as transaction advisor for the Debtors in the
         Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further

                        RESOLVED, that the firm of Prime Clerk LLC, located at 830 3rd Avenue, 9th
         Floor, New York, New York 10022, is hereby retained as noticing and claims agent and
         administrative advisor for the Debtors in the Chapter 11 Cases, subject to Bankruptcy Court
         approval; and be it further

                        RESOLVED, that the firm of KPMG LLP, located at 1601 Market Street,
         Philadelphia, PA 19103-2499, is hereby retained as tax consultant and restructuring advisor for
         the Debtors in the Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further

                        RESOLVED, that the firm of Ernst & Young LLP, located at 200 Clarendon
         Street, Boston, MA 02116, is hereby retained as auditor for the Debtors in the Chapter 11 Cases,
         subject to Bankruptcy Court approval; and be it further

           III. Approval of Actions of Non-Debtor Affiliates

                         RESOLVED, that in the judgment of the Managers, it is desirable and in the best
         interests of certain of the non-Debtor affiliates of the Debtors (collectively, the “Non-Debtor
         Affiliates”) to take any and all action and to execute and deliver all documents, agreements and
         filings as are necessary, proper, or desirable to enable the Non-Debtor Affiliates to support the
         successful prosecution of the Chapter 11 Cases and the confirmation and consummation of the
         Plan, including granting any director, officer, or other authorized representative as applicable
         according to local law, the authority to take action in support thereof; and be it further

         IV.    General

                        RESOLVED, that any Authorized Officer is hereby authorized, empowered,
         and directed, in the name and on behalf of the Company, to cause the Company to enter into,
         execute, deliver, certify, file and/or record, and perform, such agreements, instruments,
         motions, affidavits, applications for approvals or rulings of governmental or regulatory
         authorities, certificates, or other documents, and to take such other actions that in the
         judgment of the Authorized Officer shall be or become necessary, proper, or desirable in
         connection with the Chapter 11 Case; and be it further

                         RESOLVED, that any actions taken by any Authorized Officer, for or on behalf
         of the Company, prior to the date hereof that would have been authorized by these resolutions
         but for the fact that such actions were taken prior to the date hereof be, and they hereby are,
         authorized, adopted, approved, confirmed and ratified in all respects as the actions and deeds of
         the Company.

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                        IN WITNESS WHEREOF, each of the undersigned has executed this Written
         Consent of the Managers as of December 12, 2017.




                                                 Managers:


                                                  /s/ Stewart A. Stockdale
                                                 Stewart A. Stockdale


                                                  /s/ Stephen Kirkwood
                                                 Stephen Kirkwood




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